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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

MIAMI DIVISION

TOPACIO QUINONEZ,

Plaintiff,

CASE NO.:

_VS_
COMENITY BANK,

Defendant.

/
COMPLAINT

COMES NOW Plaintiff, Topacio Quinonez, by and through the undersigned counsel, and
sues Defendant, Comenity Bank (hereinafter “Comenity”), and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)
and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 el seq. (“FCCPA”).

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l. The TCPA was enacted to prevent companies like Comenity from invading
American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fz'n. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256
scourge of modern civilization, they Wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of bed; they hound us until We Want to rip the telephone

out of the Wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

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telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.
State Farm Bank, F.S.B., 746 F. 3d 1242 (l 1ch Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." F act Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Dailv Releases/Dailv Business/20l5/db()527/DOC-

333676Al .pdf.

JURISDICTION AND VENUE
5. This is an action for damages exceeding Fifteen Thousand Dollars (315,000.00)

exclusive of attorney fees and costs.
6. Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

7. The alleged violations described in the Complaint occurred in Miami-Dade

County, Florida.

FACTUAL ALLEGATIONS
8. Plaintiff is a natural person, and citizen of the State of Florida, residing in Miami-
Dade County, Florida
9. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

10. Plaintiff is an “alleged debtor.”
ll. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A,, 755 F. 3d

1265 (l 1th Cir. 2014) and Osorz`o v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

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12. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

13. Comenity is a FDIC insured bank with its principal place of business at One
Righter Parkway, Suite 10(), Wilmington, DE 19803 and conducting business in the State of
Florida.

14. Comenity called Plaintiff approximately one thousand five hundred (1,500) times
since January l, 2015, in an attempt to collect a debt.

15. Comenity attempted to collect a debt from Plaintiff by this campaign of telephone
calls.

16. Comenity intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day and on back to back days, with such frequency as can
reasonably be expected to harass.

17. On information and belief, the telephone calls were placed using automated
telephone dialing equipment, without human intervention

18. Each call Comenity made to Plaintiff was made using an “automatic telephone
dialing system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(1). Plaintiff will testify that she knew it was an autodialer because of the vast number of
calls she received and because she heard a pause when she answered her phone before a voice
came on the line.

19. Each call Comenity made to PlaintifPs cell phone was done so without the
“express permission” of Plaintiff.

20. Beginning on or around January l, 2015, Plaintiff began receiving automated

calls to her cellular telephone (***) ***-2700 from Comenity in an attempt to collect a debt.
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21. Gn several occasions Plaintiff would answer and speak to live agents of Comenity
instructing them to stop calling her cellular telephone, however her pleas were futile as the calls
continued.

22. On November 25, 2015 at 8:03 Al\/I Plaintiff answered a call from Comenity and
spoke to an agent known only as “Sabrina,” who asked to speak to Plaintiff s mother, Plaintiff
requested that Comenity cease calling her cell phone and hung up.

23. On November 25, 2015 at 8:32 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Mr. Redman,” who asked to speak to Plaintiff s mother,
Plaintiff requested that Comenity cease calling her cell phone and hung up.

24. On November 25, 2015 at 8:37 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Daniel” who asked to speak to Plaintiff s mother, Plaintiff
requested that Comenity cease calling her cell phone and hung up.

25. On November 25, 2015 at 8:38 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Jessy” who asked to speak to Plaintiff’s mother, Plaintiff
requested that Comenity cease calling her cell phone and hung up.

26. On November 25, 2015 at 11:26 AM Plaintiff answered a call from Comenity
where an agent known only as “Christal” began speaking Spanish, to which Plaintiff requested
that Comenity cease calling her cell phone and hung up.

27. On November 27, 2015 at 8:36 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Sharell” who asked to speak to Plaintiff, to which Plaintiff
requested that Comenity cease calling her cell phone and hung up.

28. On November 27, 2015 at 9:36 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Stacy” who asked to speak to Plaintiff, to which Plaintiff

requested that Comenity cease calling her cell phone and hung up.
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29. On November 27, 2015 at 10:01 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Luis” who asked to speak to Plaintiff, to Which Plaintiff
requested that Comenity cease calling her cell phone and hung up.

30. On November 28, 2015 at 8:20 AM Plaintiff answered a call from Comenity and
spoke to an agent known only as “Luis” who asked to speak to Plaintiff, to which Plaintiff
requested that Comenity cease calling her cell phone and hung up.

31. Due to the tremendous volume of calls received to her cellular telephone from
Comenity, Plaintiff was not able to properly catalogue each and every call, however attached
hereto as Exhibit “1” is a list of some of the calls she Was able to notate.

32. Comenity has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in this
case.

33. Comenity has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice just as it did to Plaintist cellular telephone in this case, with no
way for the consumer, Plaintiff, or Comenity, to remove the number.

34. Comenity’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Comenity that they wish for the calls tos top.

35. Comenity has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

36. In 2014, Comenity had an approved settlement of $8.5 million over a class action
that they autodialed four (4) million people in violation of the Telephone Consumer Protection
Act from August 2010 to May 26, 2014 (See Attached Exhibit “2”).

37. Comenity has numerous complaints across the country against it asserting that its

automatic telephone dialing system continues to call despite being requested to stop.
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38. A very small sampling of online complaints regarding one of the numbers
Comenity autodialed Plaintiff from, 720-456-3687, is attached hereto as Exhibit “3.”

39. A very small sampling of online complaints regarding one of the numbers
Comenity autodialed Plaintiff from, 614-729-6086, is attached hereto as Exhibit “4.”

40. Comenity’s corporate policy provided no means for Plaintiff to have her number
removed from the call list.

41. Comenity has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

42. Plaintiff did not expressly consent to Comenity’s placement of telephone calls to
Plaintiff’ s cellular telephone by the use of an automatic telephone dialing system or a pre-
recorded or artificial voice prior to Comenity’s placement of the calls.

43. Not a single call placed by Comenity to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

44. Comenity willfully and/or knowingly violated the TCPA with respect to Plaintiff.

COUNT I
(Violation of the TCPA)

45. Plaintiff incorporates above paragraphs one (1) through forty-four (44) herein.

46. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified
Defendant that Plaintiff wished for the calls to cease.

47. Comenity repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Comenity for statutory damages, punitive damages, actual damages, costs,
interest, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

COUNT II
(Violation of the FCCPA)

48. Plaintiff incorporates above paragraphs one (1) through forty-four (44) herein.

49. At all times relevant to this action Comenity is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

50. Comenity has violated Florida Statute § 559.72(7) by willfully communicating
With the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

51. Comenity has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

52. Comenity’s actions have directly and proximately resulted in Plaintist prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Comenity for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

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Respectfully submitted,

/s/ Octavz'o G'omez

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